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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

U.S. BANK NATIONAL ASSOCIATION,                        §
AS    TRUSTEE,    SUCCESSOR  IN                        §
INTEREST TO BANK OF AMERICA,                           §
NATIONAL       ASSOCIATION,  AS                        §
TRUSTEE, SUCCESSOR BY MERGER                           §
TO LASALLE NATIONAL BANK, AS                           §
TRUSTEE FOR C-BASS MORTGAGE                            §
LOAN ASSET BACKED CERTIFICATES,                        §
SERIES 2007-CB2,                                       §
                                                       §   Civil Action No.5:22-cv-00718-XR
         Plaintiff,                                    §
                                                       §
v.                                                     §
                                                       §
KELSEY RUTH DAWSON                                     §
AND CHRISTIAN ANN WELLS,                               §
                                                       §
         Defendants.                                   §

             JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Plaintiff U.S. Bank National Association, as Trustee, Successor in Interest to Bank of

America, National Association, as Trustee, Successor by Merger to LaSalle National Bank, as

Trustee for C-BASS Mortgage Loan Asset Backed Certificates, Series 2007-CB2 (“U.S. Bank”

or “Plaintiff”) and Kelsey Ruth Dawson (“Defendant” and collectively the “Parties”) file this

Joint Stipulation of Dismissal Without Prejudice, and respectfully show the Court as follows:

                                                  I.

       The Parties have reached an agreement regarding the claims in this matter, which calls

for a dismissal of Plaintiff’s claims against Defendants without prejudice. Therefore, in

accordance with their agreement, the Parties hereby stipulate for the dismissal without prejudice

to the refiling of the same of Plaintiff’s claims against Defendant.




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       WHEREFORE, the Parties respectfully request that the Court enter an order dismissing

Plaintiff’s claims against Defendant without prejudice and for such other relief to which they

may be justly entitled.

                                               Respectfully submitted,

                                               By: /s/ Nicholas M. Frame
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                                               Attorneys for Plaintiff

                                               and

                                               Signed with permission:
                                               By: /s/ Joseph G. Pena
                                                  Joseph G. Pena
                                                  Texas Bar No. 24052898

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                               CERTIFICATE OF SERVICE

        The undersigned certifies that a true and correct copy of the foregoing document was
delivered to the following in the manner described below on August 8, 2022.

       Via ECF:
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       Ray Pena McChristian P.C.
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                                                 /s/ Nicholas M. Frame
                                                 NICHOLAS M. FRAME




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